           Case 2:11-cr-00190-KJM Document 39 Filed 03/29/12 Page 1 of 2


1    DINA L. SANTOS, Bar #204200
     A Professional Law Corporation
2    428 J Street, 3rd Floor
     Sacramento, California 95814
3    Telephone: (916) 447-0160
4
5    Attorney for Defendant
     TIFFANY BROWN
6
7                       IN THE UNITED STATES DISTRICT COURT
8                     FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10
11   UNITED STATES OF AMERICA,       )     No. 2:11-cr-00190-MCE
                                     )
12                  Plaintiff,       )
                                     )     STIPULATION AND ORDER VACATING
13        v.                         )     DATE, CONTINUING CASE, AND
                                     )     EXCLUDING TIME
14   NICHOLAS RAMIREZ                )
     TIFFANY BROWN,                  )
15                  Defendants.      )     Date   June 7, 2012
                                     )     Time: 9:00 a.m.
16   _______________________________ )     Judge: Hon. England
17
18
19        IT IS HEREBY STIPULATED by and between Assistant United States
20   Attorney Jason Hitt, Counsel for Plaintiff, and Attorney Dina L.
21   Santos, Counsel for Defendant Tiffany Brown; Attorney Michael Bigelow,
22   Counsel for Nicholas Ramirez, that the status conference scheduled for
23   March 29, 2012, be vacated and the matter be continued to this Court's
24   criminal calendar on June 7, 2012,at 9:00 a.m. for further status.
25        This continuance is requested by the defense in order to permit
26   counsel to continue in negotiations with the prosecution in attempt to
27   reach a resolution, meet with the clients to discuss various
28   resolutions, and to continue the defense investigation.
            Case 2:11-cr-00190-KJM Document 39 Filed 03/29/12 Page 2 of 2


1          IT IS FURTHER STIPULATED that time for trial under the Speedy
2    Trial Act, 18 U.S.C. § 3161 et. seq. be tolled pursuant to §
3    3161(h)(7)(A) & (B)(iv), Local code T-4 (time to prepare), and that the
4    ends of justice served in granting the continuance and allowing the
5    defendant further time to prepare outweigh the best interests of the
6    public and the defendant in a speedy trial.
7          The Court is advised that all counsel have conferred about this
8    request, that they have agreed to the June 7, 2012 date, and that all
9    counsel have authorized Ms. Santos to sign this stipulation on their
10   behalf.
11             IT IS SO STIPULATED.
12
13   Dated: June 7, 2012                      /S/ Dina L. Santos
                                             DINA L. SANTOS
14                                           Attorney for
                                             Tiffany Brown
15
16   Dated: June 7, 2012                      /S/ Michael Bigelow
                                             MICHAEL BIGELOW
17                                           Attorney for
                                             Nicholas Ramirez
18
19   Dated: June 7, 2012                      /S/ Jason Hitt
                                             JASON HITT
20                                           Assistant United States Attorney
                                             Attorney for Plaintiff
21
22                                      O R D E R
23         IT IS SO ORDERED.
24
      Dated: March 29, 2012
25
26                                         _____________________________
                                           MORRISON C. ENGLAND, JR.
27
                                           UNITED STATES DISTRICT JUDGE
28


     Stipulation and Order                   2
